
In re Winford, Leander; — Plaintiff; Applying for Writ of Certiorari and/or Review Civil Service Commission City of New Orleans, Nos. 7089, 7104, 7119, 7113, 7099, 7101, 7115, 7272, 7284, 7117, 7118, 7114,; to the Court of Appeal, Fourth Circuit, No(s). 2006-CA-1647, 2007-CA-0360, 2007-CA-0361, 2007-CA-0364, 2007-CA-0171, 2007-CA-0366, 2006-CA-1498, 2006-CA-1500, 2007-CA-0797, 2007-CA-0367, 2007-CA-0368, 2007-CA-0796.
Denied.
